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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

Hertz Global Holdings, Inc.,

Plaintiff,
19-cv-06957 (AJN)
—Vy—
ORDER
National Union Fire Insurance Company of
Pittsburgh, et al.,

Defendants.

 

 

ALISON J. NATHAN, District Judge:

As discussed at the February 14, 2020 Status Conference in this matter, Defendants’ Joint
Motion to Dismiss the Amended Complaint, Dkt. No 42, is hereby administratively denied. The
parties are also ordered to attend mediation. If the mediation is unsuccessful, Defendants may
refile their Motion to Dismiss no later than one week after the mediation. Plaintiff must file an

opposition two weeks after that. Defendants may file a reply two weeks after that.

SO ORDERED.

Dated: February| , 2020
New York, New York

d WV

“ “ALISON J. NATHAN
United States District Judge

 

 
